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6                                UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEVADA
7
     JOHN SCOTT BURRIS, an individual,                 Case 2:20-cv-00999-APG-BNW
8
                    Plaintiff,                         STIPULATION OF COUNSEL FOR
9                                                      PLAINTIFF TO FILE FIRST AMENDED
     v.                                                COMPLAINT
10
     FIRST RELIANCE STANDARD LIFE
11   INSURANCE COMPANY,

12                  Defendant.
13                             STIPULATION OF COUNSEL FOR
                        PLAINTIFF TO FILE FIRST AMENDED COMPLAINT
14
            Counsel for the parties—Reuben H. Cawley for Plaintiff and Ann-Martha Andrews for
15

16   Defendant—stipulated to Plaintiff’s filing of the First Amended Complaint (“FAC”) pursuant to

17   Fed. R. Civ. P. 15(a)(2).
18          DATED this 13th day of October 2020.
19

20    /s/ Reuben H. Cawley                         /s/ Ann-Martha Andrews
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26
     IT IS SO ORDERED
27
     DATED: 2:50 pm, October 16, 2020
28


     BRENDA WEKSLER
     UNITED STATES MAGISTRATE JUDGE
